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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL
DIVERSITY et al.,

       Plaintiffs, v.

GINA RAIMONDO et al.,
                                                 Civil Action No. 18-112 (JEB)
       Federal Defendants, and

MAINE LOBSTERMEN’S ASSOCIATION,
INC. et al.,

       Defendant – Intervenors


                        NOTICE OF WITHDRAWAL OF COUNSEL

       Oceana, Inc. withdrew its Motion for Leave to File Brief as Amicus Curiae in Support of

 Plaintiffs on December 24, 2021. Accordingly, I hereby withdraw my appearance as counsel in

 this case.

                                    Respectfully submitted this 24th day of February 2022.

                                    /s/ Aparna B. Joshi_____________
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